      Case: 25-10349     Document: 15      Page: 1   Date Filed: 04/24/2025




             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


STATE OF TEXAS, ET AL.

            Plaintiffs-Appellees,

V.

UNITED STATES DEPARTMENT OF LABOR;
                                                        Nos. 24-40777, 25-10349
LORI CHAVEZ DEREMER, in her official capacity
as U.S. Secretary of Labor; DONALD M.
HARRISON, III, in his official capacity as Acting
Administrator of the U.S. Department of Labor’s
Wage and Hour Division; and U.S. DEPARTMENT
OF LABOR, WAGE AND HOUR DIVISION,

                  Defendants-Appellants.

FLINT AVENUE, LLC,

            Plaintiff-Appellee,

V.

UNITED STATES DEPARTMENT OF LABOR;
LORI CHAVEZ-DEREMER, in her official capacity
as U.S. Secretary of Labor; DONALD M.
HARRISON, III, in his official capacity as Acting
Administrator of the U.S. Department of Labor’s
Wage and Hour Division,

                  Defendants-Appellants.
         Case: 25-10349      Document: 15        Page: 2   Date Filed: 04/24/2025




       UNOPPOSED MOTION TO HOLD APPEALS IN ABEYANCE

       Defendants-Appellants United States Department of Labor, et al.,* respectfully

move to hold these appeals in abeyance pending the agency’s reconsideration of the

rule challenged in these cases. This motion is unopposed.

       1. These appeals involve challenges to a rule issued by the Department of

Labor that defines and delimits a Fair Labor Standards Act exemption for employees

“employed in a bona fide executive, administrative, or professional capacity.” 29

U.S.C. § 213(a)(1); see 89 Fed. Reg. 32,842 (Apr. 26, 2024). The district courts in these

cases held that the rule exceeds the Department’s statutory authority and granted

summary judgment in favor of plaintiffs. The government’s opening brief in Texas, et

al. v. Department of Labor is currently due, as extended, on May 6, 2025. The

government’s opening brief in Flint Avenue v. Department of Labor is currently due on

May 5, 2025.

       2. Due to the recent change in administration on January 20, 2025, there is

new Department of Labor leadership. The Department has informed undersigned

counsel that it intends to reconsider the rule at issue in this litigation. The

government therefore respectfully requests that these appeals be placed in abeyance


*Pursuant to Fed. R. App. Proc. 43(c)(2), U.S. Secretary of Labor Lori Chavez-
DeRemer is automatically substituted for former Acting U.S. Secretary of Labor Vince
Micone and Acting Administrator Donald M. Harrison, III, is automatically
substituted for Deputy Administrator Patricia Davidson, who was previously
performing the duties of the Acting Administrator of the Wage and Hour Division.
                                             2
           Case: 25-10349    Document: 15       Page: 3   Date Filed: 04/24/2025




pending the agency’s reconsideration of the rule. Abeyance will permit agency

leadership time to engage in this decision-making process and will conserve judicial

resources. The Department is prepared to provide periodic status updates as ordered

by the Court and proposes to update the court with status reports at least every 60

days.

        3. Counsel for the appellees has represented that they do not oppose to this

request.




                                            3
          Case: 25-10349      Document: 15       Page: 4   Date Filed: 04/24/2025




                                    CONCLUSION

         For the foregoing reasons, the government respectfully requests that these

appeals be held in abeyance pending further consideration by the Department of

Labor.

                                                     Respectfully submitted,

                                                     MICHAEL S. RAAB

                                                      /s/ Courtney L. Dixon
                                                     COURTNEY L. DIXON
                                                     (202) 353-8189
                                                       Attorneys, Appellate Staff
                                                       Civil Division
                                                       U.S. Department of Justice
                                                       950 Pennsylvania Ave. N.W.
                                                       Washington, D.C. 20530


APRIL 2025




                                             4
        Case: 25-10349       Document: 15   Page: 5    Date Filed: 04/24/2025




                       CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with the word limit of Fed. R. App. P.

27(d)(2)(A) because, excluding the parts of the document exempted by Fed. R. App.

P. 32(f), it contains 374 words.


                                               /s/ Courtney L. Dixon
                                              COURTNEY L. DIXON
        Case: 25-10349      Document: 15      Page: 6    Date Filed: 04/24/2025




                          CERTIFICATE OF SERVICE

      I hereby certify that on April 24, 2025, I electronically filed the foregoing

motion with the Clerk of the Court by using the appellate CM/ECF system.

      I certify that the participants in the case are registered CM/ECF users and that

service will be accomplished by the appellate CM/ECF system



                                                 /s/ Courtney L. Dixon
                                                COURTNEY L. DIXON
